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              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                 April 17, 2017


Clerk
United States Court of Appeals for the Sixth Circuit
524 Potter Stewart Courthouse
100 East Fifth Street
Cincinnati, OH 45202
                                                                   FILED
                                                              Apr 25, 2017
                                                         DEBORAH S. HUNT, Clerk
      Re: Sarah Ann Calvetti
          v. United States
          No. 16-8193
          (Your No. 15-1526)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                        Sincerely,




                                        Scott S. Harris, Clerk
